       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 1 of 12




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO


ZIA AGRICULTURAL CONSULTING, LLC,

       Plaintiff,

               v.                                           CASE NO. 1:20-cv-445

TYSON FOODS, INC. and TYSON FRESH
MEATS, INC.,

      Defendants.
________________________________________

          ZIA AGRICULTURAL CONSULTING, LLC’S COMPLAINT
  FOR BREACH OF CONTRACT, BREACH OF IMPLIED DUTY OF GOOD FAITH
         AND FAIR DEALING, QUANTUM MERUIT, FRAUDULENT
             MISREPRESENTATION, AND VIOLATION OF THE
                 NEW MEXICO UNFAIR PRACTICES ACT

       Plaintiff Zia Agricultural Consulting, LLC, for its Complaint against Defendants Tyson
Foods, Inc. and Tyson Fresh Meats, Inc., hereby alleges the following facts and claims:

                                        THE PARTIES

       1.      Zia Agricultural Consulting, LLC (“Zia”) is a Limited Liability Company

registered in New Mexico with its principal place of business in Albuquerque, New Mexico.

       2.      Zia is a commodity consulting business that specializes in investments, sourcing,

and production of cattle for the commercial beef market.

       3.      Upon information and belief, Tyson Foods, Inc. (“Tyson”) is a corporation

registered in Delaware with its principal place of business in Springdale, Arkansas.

       4.      Tyson is a large food production, processing, sales, and marketing company.

       5.      Upon information and belief, Tyson Fresh Meats, Inc. (“Tyson Fresh Meats”) is a

corporation registered in Delaware with its principal place of business in Dakota Dunes, South

Dakota.
       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 2 of 12




        6.     Upon information and belief, Tyson Fresh Meats is an affiliate, subsidiary,

department, division, and/or brand name of Tyson.

        7.     As alleged herein, Tyson and Tyson Fresh Meats will be referred to collectively

as the “Tyson Defendants”. Each allegation against the Tyson Defendants is alleged fully and

completely as against either individual entity.

                                JURISDICTION AND VENUE

        8.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the

parties are diverse and more than $75,000, exclusive of interest and costs, is in dispute.

        9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the underlying claims in the Complaint

occurred in this District, because the Tyson Defendants’ acts or omissions in this District caused

Zia’s damages, and because the Tyson Defendants are subject to personal jurisdiction in this

District.

                                  FACTUAL ALLEGATIONS
                                             Overview

        10.    For many years, Zia has sourced and sold cattle to the Tyson Defendants for

processing and re-sale in the commercial market.

        11.    Increasingly, retail sellers in the grocery industry, including the Tyson

Defendants’ customers, seek out high-quality, natural beef sourced to specific standards of

production.

        12.    Zia has a good reputation in the cattle industry for producing Global Animal

Partnership-certified Cattle and Non-Hormone Treated Cattle (collectively, “Premium Cattle”).

        13.    Based on Zia’s reputation, the Tyson Defendants approached Zia to source

Premium Cattle as they expanded their business beyond conventional cattle.

        14.    Zia sold this Premium Cattle to the Tyson Defendants for processing and sale to

Whole Foods, which created the Global Animal Partnership-certified program and is the only

viable purchaser for the finished product.

                                                  2
       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 3 of 12




       15.     In or about February of 2019, Zia and the Tyson Defendants entered into a

contract for the sale of Premium Cattle over the coming months.

       16.     Zia delivered the Premium cattle to the Tyson Defendants and performed all terms

of the contract.

       17.     The Tyson Defendants breached the contract, have failed to pay Zia the agreed

upon price for Premium Cattle, and have only remitted payment for a lesser amount.

       18.     As set forth in more detail below, Zia has been damaged in an amount of not less

than $2,488,000 or such other amount to be determined at trial, based upon the Tyson

Defendants’ breach of the contract.
                                      The Cost Plus Contract

       19.     In or about December of 2018 and January of 2019, Robert Scherer, an employee

of the Tyson Defendants, initiated multiple telephone calls with Zia to discuss a potential list of

Premium Cattle and their cost for purchase during 2019.

       20.     Based on production requirements and finishing timelines, parties in the cattle

industry typically reach agreements regarding the sale of cattle between six and twelve months in

advance of delivery.

       21.     The entire production process – from the time the Premium Cattle are

programmed and born at the ranch of origin, to their finishing, to their eventual sale to the packer

– typically takes twelve to twenty-four months.

       22.     Scherer requested that Zia identify as many Premium Cattle as possible for

eventual sale to Whole Foods.

       23.     On February 4, 2019, in response to Scherer’s requests, Zia emailed Scherer a

“Cost Plus Model” for Premium Cattle. The February 4, 2019 email and a response from the

Tyson Defendants are attached as Exhibit 1. The Cost Plus Model is attached as Exhibit 2.

       24.     The Cost Plus Model identified the projected costs to finish the cattle (i.e. feeding,

bringing up to weight, providing medical care, and otherwise preparing the cattle for market) and



                                                  3
       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 4 of 12




then set the sale price to the Tyson Defendants at that cost of finishing plus an additional

premium per head.

       25.     The Cost Plus Model set a price per head for Global Animal Partnership-certified

cattle at $125 per head over the cost of finishing the cattle.

       26.     The Cost Plus Model set a price per head for Non-Hormone Treated Cattle at

$100 per head over the cost of finishing the cattle.

       27.     On February 4, 2019, Scherer responded to the offer with an email accepting the

offer by stating the following: “This looks good get them in a finish yard, asap please.” See

Exhibit 1.

       28.     Zia and the Tyson Defendants thus entered into a contract (the “Cost Plus

Contract”), which included consideration.

       29.     Based on the Cost Plus Contract, Zia sent several thousand Premium Cattle to

four feedlots for finishing.

       30.     Zia provided the Tyson Defendants with regular updates throughout the spring of

2019 regarding head of cattle moved from pasture to feedyard under the Cost Plus Contract for

delivery dates throughout 2019.

       31.     Beginning with the first email in February, Zia began sending Cost Plus Model

spreadsheets to the Tyson Defendants on a monthly basis.

       32.     Zia emailed Scherer the March Update of Premium Cattle moved from pasture to

feedyard under the Cost Plus Contract on March 4, 2019. The email attaching the March Update

is attached as Exhibit 3.

       33.      Zia emailed Scherer the April Update of Premium Cattle moved from pasture to

feedyard under the Cost Plus Contract on May 10, 2019. The email attaching the April Update is

attached as Exhibit 4.

       34.     Zia emailed Scherer the May Update of Premium Cattle moved from pasture to

feedyard under the Cost Plus Contract on May 22, 2019. The email attaching the May Update is

attached as Exhibit 5.

                                                  4
       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 5 of 12




       35.     Zia invested substantially in the Premium Cattle based on the high standards

required to bring them to market.

       36.     Premium Cattle must remain with their mothers for an average of 180 days before

weaning.

       37.     Premium Cattle must receive certain medications, vaccinations, and feed while in

the process of finishing.

       38.     Due to these and other high standards, Zia invested an amount in the Premium

Cattle for the Cost Plus Contract far above what a producer would invest in the finishing of

conventional cattle.

       39.     In or about March of 2019, Zia called Scherer and Justin Nelson, another

employee of the Tyson Defendants, wherein Scherer and Nelson reconfirmed the Cost Plus

Contract and asked to adjust the delivery dates to give the cattle more time for finishing prior to

being harvested.

       40.     Following entry into the Cost Plus Contract, the Tyson Defendants’ buyers

inspected the Premium Cattle on a weekly basis.

       41.     In or about May of 2019, Zia left multiple voicemail messages for Scherer to

reconfirm details before shipping the first set of Premium Cattle to the Tyson Defendants’

facility in Lexington, Nebraska for harvesting.

       42.     On or about June 7, 2019, Scherer and Nelson called Zia and stated the Tyson

Defendants would not pay the prices agreed to in the Cost Plus Contract.

       43.     On or about July 20, 2019, the Tyson Defendants breached the Cost Plus Contract

by refusing to pay the agreed upon prices.

       44.     The Tyson Defendants have continued to breach the Cost Plus Contract by

continuing to refuse to pay the agreed upon prices.

       45.     The Tyson Defendants also declined to purchase certain lots of Premium Cattle

that were part of the Cost Plus Contract.



                                                  5
       Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 6 of 12




       46.     In one instance, the Tyson Defendants first declined to purchase a certain lot of

Premium Cattle that was part of the Cost Plus Contract and later changed their mind and

purchased the lot after additional time in the feedyard at additional cost to Zia.

       47.     In other instances, the Tyson Defendants delayed purchase and delivery, which

required additional time for the Premium Cattle to be kept on feed at significant cost to Zia.

       48.     The Tyson Defendants overall mismanagement of its supply chain and the timing

of delivery resulted in both significant costs for feed and care, as well as increased death loss of

the Premium Cattle that were part of the Cost Plus Contract.

       49.     Due to the long production schedule and limited number of purchasers for

Premium Cattle, Zia had to continue finishing the cattle on the feedlots in an effort to mitigate

any damages caused by the Tyson Defendants’ breach and recover costs as best it could.

       50.     Indeed, Whole Foods is the sole-marketer and retailer of Global Animal

Partnership-certified Cattle. The Tyson Defendants are the packer for the majority of this cattle

sold by Whole Foods.

       51.     The Tyson Defendants held significant leverage over Zia since the market for

Premium Cattle is smaller than and not as fluid as the market for conventional cattle.

       52.     Zia was forced to continue delivery of the Premium Cattle despite the Tyson

Defendants’ breach to be able to recover as much of its costs as possible for finishing the cattle

under the Cost Plus Contract.

       53.     Upon information and belief, the Tyson Defendants intentionally misled Zia and

induced it to enter into the Cost Plus Contract based upon the limited market for Premium Cattle

and the Tyson Defendants’ understanding that Zia would have to sell the finished cattle to them

regardless of the price Zia was paid.

       54.     Upon information and belief, the Tyson Defendants intentionally induced Zia to

invest significant amounts of money into the finishing of the Premium Cattle knowing that Zia

had little to no opportunity to identify an alternative buyer for the Premium Cattle and would be

forced to deliver them to the Tyson Defendants regardless of what price Zia was paid.

                                                  6
          Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 7 of 12




          55.   The Tyson Defendants contacted Zia in New Mexico by telephone, email, or other

means on numerous occasions and had actual knowledge that Zia was located in New Mexico.

          56.   The Tyson Defendants expressly aimed their fraudulent conduct at Zia in New

Mexico.

          57.   The Tyson Defendants had actual knowledge that the injury to Zia would occur in

New Mexico.

          58.   Upon information and belief, the Tyson Defendants also interfered with Zia’s

business by contacting ranchers, feedyards, and competitors of Zia in New Mexico in an attempt

to cut Zia out of deals or to purchase calves from these companies that were intended to be sold

to Zia during the term of the Cost Plus Contract.

          59.   Zia performed all of its obligations under the Cost Plus Contract and delivered all

of the Premium Cattle to the Tyson Defendants by October of 2019.

          60.   The Tyson Defendants have refused, and continue to refuse, to pay the agreed-

upon price under the Cost Plus Contract, but have rather remitted a substantially smaller amount.

          61.   Zia has been damaged by the Tyson Defendants in an amount to be determined at

trial, but not less than $2,488,000.


                                  FIRST CLAIM FOR RELIEF
                                       Breach of Contract
                                     (against all Defendants)
          62.   Zia incorporates by reference paragraphs 1 through 61 as though fully set forth

herein.

          63.   Zia and the Tyson Defendants entered into the Cost Plus Contract.

          64.   Zia had a valid and enforceable agreement with the Tyson Defendants with

respect to the Cost Plus Contract.

          65.   Zia has performed all of its obligations under the Cost Plus Contract.




                                                 7
          Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 8 of 12




          66.    The Tyson Defendants materially breached their agreement with Zia by refusing

to pay, and continuing to refuse to pay, the full amounts due and owing pursuant to the Cost Plus

Contract.

          67.    As a direct and proximate result of the Tyson Defendants’ breach, Zia has been

damaged in an amount not less than $2,488,000.


                              SECOND CLAIM FOR RELIEF
                  Breach of The Implied Duty of Good Faith and Fair Dealing
                                  (against all Defendants)
          68.    Zia incorporates by reference paragraphs 1 through 67 as though fully set forth
herein.

          69.    The Tyson Defendants owe Zia a duty of good faith and fair dealing in their

dealings with Zia.

          70.    The Tyson Defendants breached their duty of good faith and fair dealing to Zia by

refusing to pay, and continuing to refuse to pay, the amounts due and owing pursuant to the Cost

Plus Contract.

          71.    As a direct and proximate result of the Tyson Defendants’ conduct, Zia has been
damaged in an amount not less than $2,488,000.


                                  THIRD CLAIM FOR RELIEF
                                       Quantum Meruit
                                    (against all Defendants)
          72.    Zia incorporates by reference paragraphs 1 through 71 as though fully set forth

herein.

          73.    The work performed and/or goods provided by Zia benefited the Tyson

Defendants in that they were able to sell the Premium Cattle to their customers at the full price

anticipated by those customers for Premium Cattle.




                                                  8
          Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 9 of 12




          74.   Upon information and belief, the Tyson Defendants have received substantial

payments from their customers for the processed Premium Cattle that were sold to them under

the Cost Plus Contract.

          75.   The Tyson Defendants would be unjustly enriched if they are allowed to retain the

benefits resulting from the services performed and/or good provided by Zia without having to

pay for those benefits.

          76.   Zia is entitled to the reasonable value of the services rendered and/or goods

provided to The Tyson Defendants.

          77.   As a direct and proximate result of The Tyson Defendants’ conduct, Zia has been

damaged in an amount not less than $2,488,000.


                                FOURTH CLAIM FOR RELIEF
                                 Fraudulent Misrepresentation
                                    (against all Defendants)
          78.   Zia incorporates by reference paragraphs 1 through 77 as though fully set forth

herein.

          79.   The Tyson Defendants entered into the Cost Plus Contract with Zia.

          80.   The Tyson Defendants represented that they would pay the agreed upon price for

Premium Cattle under the Cost Plus Contract.

          81.   The Tyson Defendants falsely represented that they would pay the agreed upon

price for Premium Cattle under the Cost Plus Contract.

          82.   The Tyson Defendants either knew this representation to be false or recklessly
made this representation without knowledge of its truth.

          83.   The Tyson Defendants made this representation with the intention that Zia rely on

it.

          84.   Zia did, in fact, rely on the representation that the Tyson Defendants would pay

the agreed-upon price under the Cost Plus Contract.



                                                 9
      Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 10 of 12




          85.   As a direct and proximate result of The Tyson Defendants’ conduct, Zia has been

damaged in an amount not less than $2,488,000.

          86.   The acts and omissions of the Tyson Defendants as set forth in this Complaint and

under this cause of action were malicious, oppressive, or undertaken with reckless disregard to

the rights and interests of Zia.

          87.   Zia is entitled to the maximum award of punitive damages allowed by law.

                             FIFTH CLAIM FOR RELIEF
   Violations of the New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-1, et seq.
                                 (against all Defendants)
          88.   Zia incorporates by reference paragraphs 1 through 87 as though fully set forth

herein.

          89.   Zia and the Tyson Defendants are or were “person[s]” under the New Mexico

Unfair Practices Act, N.M. Stat. Ann. § 57-12-2.

          90.   The Tyson Defendants’ actions as set forth in this Complaint occurred in the

conduct of trade or commerce as defined under the New Mexico Unfair Practices Act, N.M. Stat.

Ann. § 57-12-2.

          91.   The Unfair Practices Act makes unlawful “a false or misleading oral or written
statement, visual description or other representation of any kind knowingly made in connection

with the sale, rental or loan of goods or services . . . by a person in the regular course of the

person’s trade or commerce, that may, tends to or does deceive or mislead any person,” including

but not limited to “failing to state a material fact if doing so deceives or tends to deceive.” N.M.

Stat. Ann. § 57-12-2(D).

          92.   The Tyson Defendants’ acts and omissions described herein constitute unfair or

deceptive acts or practices under N.M. Stat. Ann. § 57-12-2(D).

          93.   The Tyson Defendants’ misrepresentations and false, deceptive, and misleading

statements with respect to the Cost Plus Contract constitute deceptive acts or practices.




                                                  10
      Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 11 of 12




       94.     The Tyson Defendants also engaged in unlawful trade practices by willfully and

knowingly employing deception, deceptive acts or practices, fraud, misrepresentations, or

concealment, suppression, and/or omission of material facts with intent that others rely upon

such concealment, suppression, and/or omission, in connection with the Cost Plus Contract.

       95.     Defendants’ unfair or deceptive acts or practices were likely to and did in fact

deceive Zia.

       96.     The Tyson Defendants knew or should have known that its conduct violated the

Unfair Practices Act.

       97.     As a consequence of The Tyson Defendants’ wrongful actions, Zia has been

damaged in an amount not less than $2,488,000.

       98.     Zia seeks recovery of compensatory, discretionary treble damages, punitive

damages, and reasonable attorneys’ fees and costs, as well as all other proper and just relief

available under N.M. Stat. Ann. § 57-12-10

       99.      Zia seeks punitive damages against Defendants because the Tyson Defendants’

conduct was malicious, willful, reckless, wanton, fraudulent, and in bad faith.

       100.    Zia is entitled to the maximum amount of punitive damages as allowed by law.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Zia Agricultural Consulting, LLC respectfully requests that this

Court grant judgment in its favor and against Defendants Tyson Foods, Inc. and Tyson Fresh

Meats, Inc. as follows:

       1.      Damages in an amount to be proven at trial, but not less than $2,488,000;

       2.      Punitive damages in an amount to be proven at trial;

       3.      Attorneys’ fees and costs;

       4.      Pre-judgment interest; and

       5.      Any other appropriate legal, equitable, injunctive or declaratory relief.



                                                11
Case 1:20-cv-00445-MIS-JHR Document 1 Filed 05/08/20 Page 12 of 12




                              Respectfully submitted,

                              MARRS GRIEBEL LAW, LTD.

                              By      /s/ Matthew J. Bouillon
                                      Clinton W. Marrs
                                      Matthew J. Bouillon
                                      1000 Gold Avenue, SW
                                      Albuquerque, NM 87102
                                      (505) 433-3926
                                      clinton@marrslegal.com
                                      matt@marrslegal.com


                                   SCHIFF HARDIN LLP

                                   John S. Worden (Pro Hac Vice Forthcoming)
                                   4 Embarcadero Center
                                   Suite 1350
                                   San Francisco, CA 94111
                                   (415) 901-8700

                                   Attorneys for Plaintiff
                                   Zia Agricultural Consulting, LLC




                                12
